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7                              IN THE UNITED STATES DISTRICT COURT

8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

9    UNITED STATES OF AMERICA,

10                   Respondent,                           No. CR S-97-0202 LKK PAN P

11           vs.

12   SPENCER SAWYER,

13                   Movant.                               ORDER

14                                                /

15                   Movant has requested an extension of time to file and serve an opposition to

16   respondent’s motion to dismiss pursuant to the court’s order of February 24, 2006. Good cause

17   appearing, IT IS HEREBY ORDERED that:

18                   1. Movant’s request for an extension of time is granted; and

19                   2. Movant is granted 45 days from the date of this order to file and serve an

20   opposition to respondent’s motion to dismiss.

21   DATED: May 24, 2006.

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